                            IN THE UNITED STATES DISRICT COURT
                            FOR THE NORTHERN DISTRICT OF IOWA
                                     EASTERN DIVISION


MARLENE MAUER,

     Plaintiff,                                                    Case No. 6:18-cv-2009

v.                                                        Bremer County Case No. LACV005874

ICON HEALTH AND FITNESS, INC.,                                 NOTICE OF REMOVAL
SEARS, ROEBUCK AND CO., a/k/a SEARS
CROSSROADS CENTER STORE #1072, and
SEARS HOME SERVICES, LLC,

     Defendants.


         Defendants, Icon Health and Fitness, Inc., (“Icon”), Sears, Roebuck, and Co. (“Sears”),

and Sears Home Services, LLC (“Sears Home Services”) (collectively “Defendants”), pursuant

to 28 U.S.C. § 1441 and Local Rule 81, file their Notice of Removal, and in support thereof state

as follows:

         1.       Defendants are the named defendants in a civil action filed on January 5, 2018 in

the Iowa District Court for Bremer County entitled: Marlene Mauer v. Icon Health and Fitness,

Inc., Sears, Roebuck and Co., a/k/a Sears Crossroads Center Store #1072, and Sears Home

Services, LLC.

         2.       That action is docketed as Bremer County Case No. LACV005874.

         3.       Plaintiff served Defendant Sears Roebuck and Co., the first Defendant to be

served, on January 9, 2018. Defendant Sears Home Services, LLC was served on January 30,

2018. Defendant Icon Health and Fitness, Inc. was served on January 30, 2018.

         4.       Accordingly, this Notice of Removal is timely pursuant to 28 U.S.C. § 1446(b).

         5.       This action is a civil suit based on personal injuries.




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          6.    Plaintiff is seeking damages allegedly sustained during the use of a treadmill.

Plaintiff is seeking damages “sufficient to compensate her for her personal injuries and damages

plus interest and costs as allowed by law.” Pet. at 3-12. Thus, Plaintiff’s petition on its face does

not explicitly indicate the exact amount in controversy.

          7.    Based on previous discussions between Plaintiff and Defendants, it is apparent

that Plaintiff will seek in excess of $75,000 during the trial of this matter.

          8.    Plaintiff is an Iowa citizen. Pet. ¶ 1.

          9.    Icon is a Delaware corporation with its principal place of business in Logan, Utah.

          10.   Sears is a New York corporation with its principal place of business in Hoffman

Estates, Illinois.

          11.   Sears Home Services is a Delaware limited liability company with its principal

place of business in Hoffman Estates, Illinois.

          12.   There is complete diversity of citizenship between Plaintiff and Defendants in this

action.

          13.   The Northern District of Iowa has jurisdiction of this action based on diversity of

citizenship jurisdiction pursuant to 28 U.S.C. § 1332.

          14.   Venue is proper in this Court under 28 U.S.C. § 1441(a) because this district and

division embrace Bremer County, Iowa, the place where this action was originally filed and has

been pending.

          15.   In accordance with 28 U.S.C. § 1446(a) and Northern District of Iowa Local Rule

81, Plaintiffs have attached as Exhibit A all process, pleadings, and orders in the state court

action.




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       16.     Defendants served this Notice of Removal on counsel for Plaintiff on the date set

forth in the certificate of service shown below.

       17.     Pursuant to Local Rule 81(a)(2), there are no matters pending in state court

requiring resolution by this Court.

       18.     Pursuant to Local Rule 81(a)(3), the names of counsel that have appeared in state

court, with their office addresses, telephone numbers, facsimile numbers, e-mail addresses, and

names of the parties they represent, are as follows:

               Samuel C. Anderson
               Swisher & Cohrt, PLC
               528 West 4th Street
               PO Box 1200
               Waterloo, Iowa 50704
               Telephone: (319) 232-6555
               Facsimile: (319) 232-4835
               E-mail: sanderson@s-c-law.com

       19.     By filing this Notice of Removal, Defendants do not waive any defenses that may

be available to them.

       20.     All requirements of jurisdiction established by 28 U.S.C. § 1332 have been

satisfied, and this action is, therefore, removable pursuant to 28 U.S.C. § 1441.

       WHEREFORE Defendants, individually and in their corporate capacities, hereby remove

the state court action pending as Case No. LACV005874 in the Iowa District Court for Bremer

County to this United States District Court.




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                                    Respectfully submitted,

                                    WHITFIELD & EDDY, P.L.C.
                                    699 Walnut Street, Suite 2000
                                    Des Moines, IA 50309
                                    Telephone: (515) 288-6041
                                    Fax: (515) 246-1474

                                    By /s/ Matthew Jacobson
                                           Matthew Jacobson
                                           Jacobson@whitfieldlaw.com

                                    By /s/ Kevin Reynolds
                                            Kevin Reynolds
                                            Reynolds@whitfieldlaw.com

                                    By /s/ Zach Hermsen
                                            Zach Hermsen
                                            Hermsen@whitfieldlaw.com

                                    ATTORNEYS FOR DEFENDANTS

Original filed.

Copy to:                                           CERTIFICATE OF SERVICE

                                     The undersigned certifies that the foregoing instrument
Samuel C. Anderson                   was served upon all parties to the above cause or to
Swisher & Cohrt, PLC                 each of the attorneys of record herein at their respective
                                     addresses disclosed on the pleadings on February 6,
528 West 4th Street                  2018.
PO Box 1200
                                      By: X   U. S. Mail            ❒ eMail
Waterloo, Iowa 50704
                                          ❒   Hand Delivered        ❒ Overnight Courier
Telephone: (319) 232-6555                 ❒   Certified Mail        X Other: Iowa EDMS
Facsimile: (319) 232-4835                 ❒   FAX
E-mail: sanderson@s-c-law.com        Signature:     /s/ Zach Hermsen

ATTORNEYS FOR PLAINTIFF




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